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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TED GERARD,
                               Plaintiff(s),

                        v.                                          23-CV-7950 (DEH)

 1199 NATIONAL BENEFIT FUNDS, et al.,                                     ORDER
                               Defendant(s).



DALE E. HO, United States District Judge:
       An order issued October 24, 2023, referred the parties to mediation through the District’s

Mediation Program. See Dkt. No. 9. On January 8, 2024, Defendants appeared and filed a

motion to dismiss. See Dkt. Nos. 16, 17. Pursuant to Rule 5(a) of the Court’s Individual

Practices in Civil Pro Se Cases, Plaintiff has until February 7, 2024, to oppose Defendants’

motion.

       It is hereby ORDERED that by January 17, 2024, Defendants shall file a letter on ECF,

stating whether they are interested in participating in mediation through the District’s Mediation

Program.

       SO ORDERED.

Dated: January 12, 2024
       New York, New York


                                                                       DALE E. HO
                                                                United States District Judge
